Case 23-80013-6-pgr        Doc 17-1 Filed 09/08/23       Entered 09/08/23 13:25:21       Desc
                          Exhibit A - Related Entities   Page 1 of 4



                            EXHIBIT A – RELATED ENTITIES


Immaculate Heart Central Schools
Seton Academy in Plattsburg
St. Cecilia’s Church of Adams, New York
St. Cyril Church of Alexandria Bay (The Catholic Community of
Alexandria)
Church of the Holy Angels of Altona, N.Y.
Church of the Holy Name of Au Sable Forks (Catholic Community of Holy Name and St.
Matthew’s)
St. Paul’s Church of Black River
St. Mary’s and St. Paul’s Parish (Blue
Mountain Lake and Indian Lake)
St. Patrick’s Church of Brasher Falls, Immaculate Conception Church of Brownville (The
Roman Catholic Community of Brownville and Dexter)
St. Mary’s Church of Brushton, N.Y.
St. James Church of Cadyville, N.Y.
The Roman Catholic Church of St. Mary in Canton, New York
St. Vincent of Paul Church of Cape Vincent (The Roman Catholic Community of Cape Vincent,
Rosiere and Chaumont)
Society of St. James Minor Church of Carthage
Church of St. Mary of Champlain
St. Andre Bessette Roman Catholic Parish, Malone, New York
St. Patrick’s Church of Chateaugay (Catholic Community of Burke and Chateaugay)
Sacred Heart Church of Chazy, N.Y.
St. Mary’s Church of Clayton
St. Patrick’s Church of Colton, N.Y.
St. Francis of Assisi Church of Constable (Catholic Community of Constable, Westville and
Trout River)
St. Mary’s Church of Constableville


16493631.1
Case 23-80013-6-pgr        Doc 17-1 Filed 09/08/23       Entered 09/08/23 13:25:21      Desc
                          Exhibit A - Related Entities   Page 2 of 4



St. Mary’s Church, Copenhagen, New York
St. Stephen’s Church, Croghan, New York
Church of the Sacred Heart of Jesus of Crown Point
St. Joseph’s Church of Dannemora
Sacred Heart Church of Edwards (n/k/a Saint James Church, of Gouverneur)
St. Elizabeth Roman Catholic Church of Elizabethtown
St. Bernard’s and St. Edmund’s Parish of Ellenburg
St. Joseph’s Church of Essex (The Catholic Community of St. Philip of Jesus and St. Joseph)
St. Mary’s Roman Catholic Church of Evans Mills, New York
St. Mary’s of the Fort Church, Fort Covington, N.Y.
Church of the Assumption of Gabriels (n/k/a St. Bernard’s Church, Saranac Lake)
St. Mary’s Church of Glenfield (Catholic Community of St. Peter and St. Mary and St. Hedwig)
St. James Church of Gouverneur
Our Lady of Grace of Hammond (n/k/a Our Lady of Grace Parish)
St. Francis Solanus Church of Harrisville, New York
Queen of Heaven Church, Henderson, N.Y.
St. Raphael’s Church of Heuvelton
Roman Catholic Community Center, Inc. (St. Kateri Hall) of Hogansburg
Church of the Holy Cross of Hopkinton, N.Y.
St. Mary’s and St. Paul’s Parish of Indian Lake
St. Anthony of Padua Parish of Inlet and Raquette Lake
St. Brendan’s Roman Catholic Church of Keene
Church of the Immaculate Conception of Keeseville (The Roman Catholic Community of
Keeseville)
St. Agnes Church of Lake Placid, N.Y.
Church of St. James Major of Lake Pleasant, Hamilton County
Ss. Philip & James Church of Lisbon Center
St. Henry’s Church of Long Lake




16493631.1
Case 23-80013-6-pgr        Doc 17-1 Filed 09/08/23        Entered 09/08/23 13:25:21          Desc
                          Exhibit A - Related Entities    Page 3 of 4



St. Peter’s Parish of Lowville (n/k/a Catholic Community of St. Peter and St. Mary and St.
Hedwig)
St. Bernard’s and St. Edmund’s Parish (Lyon Mountain and Ellenburg)
St. John’s Church of Lyons Falls
Church of St. John the Baptist Madrid
Church of All Saints of Mineville (Catholic Community of Moriah)
St. Ann’s Church of Mooers Forks
St. Alexander’s Church of Morrisonville (The Roman Catholic Community of St. Alexander and
St. Joseph)
St. Therese Church of Newcomb, N.Y.
Parish of the Visitation and St. Raymond (Norfolk and Raymondville)
St. Augustine Church of North Bangor (The Catholic Community of St. Augustine in North
Bangor, N.Y.)
St. Andrew’s Church, Norwood
St. Mary’s Church (now Cathedral) of Ogdensburg
St. Bartholomew’s Church of Old Forge
St. Joseph’s Church Minerva (Olmstedville)
St. Augustine’s Church of Peru, N.Y.
Holy Cross Parish of Plattsburgh
St. Patrick’s Church of Port Henry (The Catholic Community of Moriah)
St. Martin’s Church, Port Leyden
The Roman Catholic Church of St. Mary of Potsdam, New York
Church of the Assumption, Redford
St. Patrick’s Church, Rouses Point
St. Andrew’s Church, Sackets Harbor
St. Bernard’s Church, Saranac Lake
Our Lady of Lourdes Church, Schroon Lake, N.Y.
St. Ann’s Church, St. Regis Falls, New York
Roman Catholic Church of St. Hubert in Star Lake, New York



16493631.1
Case 23-80013-6-pgr       Doc 17-1 Filed 09/08/23         Entered 09/08/23 13:25:21   Desc
                         Exhibit A - Related Entities     Page 4 of 4



St. Mary’s Church, Ticonderoga, N.Y.
St. Alphonsus – Holy Name of Jesus Parish of Tupper Lake
St. Mary’s Church, Waddington
Church of the Holy Family of Watertown
The Church of Our Lady of Sacred Heart of Watertown
St. Anthony’s Church of Watertown
Society of St. Patrick’s Church of Watertown
St. Ann’s Church of Wells, Hamilton County
St. Joseph’s Church West Chazy, N.Y.
St. Mary’s Nativity Church of West Leyden (Church of the Nativity, B.M.V.)
St. Philip Neri Roman Catholic Church of Westport, N.Y.
St. Margaret’s Roman Catholic Church of Wilmington
Catholic Community of St. Philip of Jesus
St. Joseph of Willsboro, New York




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